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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )           CR. NO. 17-00101-01 LEK
                               )
                Plaintiff,     )           DECLARATION OF
                               )           RONALD G. JOHNSON
      vs.                      )
                               )
 ANTHONY T. WILLIAMS,     (01) )
                               )
                Defendant.     )
                               )

                     DECLARATION OF RONALD G. JOHNSON

             RONALD G. JOHNSON, based upon information and belief,

 deposes and says:

             1.    Your Declarant is the Assistant United States

 Attorney responsible for the prosecution of the above-entitled

 case.

             2.    That your Declarant has reasonable cause to

 believe that the defendant may be presently suffering from a

 mental disease or defect rendering him mentally incompetent to

 the extent that he is unable understand the proceedings against

 him or assist properly in his own defense, if standby counsel

 has to proceed to trial.       Declarant’s reasonable cause to

 believe Defendant is incompetent is based upon the following:

             3.    Your Declarant has reviewed the September 25,

 2017 transcript of Defendant’s initial appearance and he refused

 to recognize the jurisdiction of the Court or the United States.
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 Defendant went on to state, “I’m actually a sovereign.             A person

 is a corporation, firm, or association, and I’m not that type of

 legal fiction.     I’m actually a American national.”         Exhibit 1 at

 5-6.

             4.    Your Declarant has reviewed the September 29,

 2017 transcript of Defendant’s arraignment and plea to the

 Indictment and he indicated that he “will be representing the

 legal fiction that you all are charging.”          Exhibit 2 at 4.

 Defendant after being questioned by the Court was permitted to

 proceed pro se with standby counsel.         Id. at 6-10.     Defendant

 again refused to recognize the jurisdiction of the United

 States, stating, “Like I said at the first hearing, the

 government do not have any jurisdiction for me to even plea

 because, Number 1, there was no crime or mail fraud or wire

 fraud committed, so they never had any jurisdiction to file

 charges or arrest me and then charge the legal person named

 Anthony Williams.”      Id. at 16.    He went on to claim that he had

 several news stations, including CNN, that would be sending

 letters to the Court so they can be here to record the actual

 trial.    Id. at 20.

             5.    Your Declarant was present in Court on April 3,

 2018, when Defendant was scheduled to appear in connection with

 a subpoena he caused to issue to the State of Hawaii, Department

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 of Commerce and Consumer Affairs.         The Hearing did not go

 forward and the United States Marshal present reported to the

 Court that Defendant refused come down to be transported to

 Court.    Exhibit 3, Misc. No. 18-00086 LEK, Docket (Dkt.) no. 7.

             6.    Your Declarant received a copy of Defendant’s

 Motion for Exposition of Spiritual Warfare (Motion), filed on

 April 5, 2018, appearing as Dkt. no. 179.          Exhibit 4.     Standby

 Counsel Lars Isaacson filed the motion on behalf of Defendant

 and attached a declaration.        In his Declaration of Counsel at

 paragraph three, he states, “It should be noted that declarant

 took no part in the preparation of this or other motions filed

 by Defendant and makes no representation of his agreement or

 appropriateness of said motions.”         Exhibit 4, Dkt. no. 179-1 at

 1.

             7.    Exhibit “A” of the Motion is in Defendant’s own

 handwriting and was signed Anthony Williams, Private Attorney

 General.    Exhibit 4, Dkt. no. 179-2 at 6.        Defendant writes,

 “There is a Divine Nine Alphanumerical (DNA) code that has been

 revealed to the undersigned which exposes Lucifer, his demons

 and all unrighteousness and reveals who Yahweh Elohim and

 Yahshua is, the son of man and those who are righteous.”

 Defendant goes on stating the DNA code is unerring, beyond

 manipulation, and cannot be refuted.         Exhibit 4, Dkt. no. 179-2

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 at 2.   It must be noted that apparently using the DNA code,

 Defendant determined that “United States of America” translated

 to “(Lucifer’s Host Kingdom) (Lucifers Enemy Kingdom)” and his

 own name “Anthony Williams” translated to “(Son of Man Prophet)”

 as this appeared as the caption of his writing. Exhibit 4, Dkt.

 no. 179-2 at 2.

             8.    Your Declarant has been working with Timothy

 Rodrigues, a Bureau of Prisons lawyer assigned to the Honolulu

 Federal Detention Center, in connection with this case.

 Defendant describes Declarant and Timothy Rodrigues as two

 satanic lawyers who have satanic spirits incarnated in them.

 Defendant claims the DNA code for Mr. Rodrigues name is “That’s

 Satans Lawyer.”     Exhibit 4, Dkt. 179-2 at 3.        Defendant then

 goes on to calculate Declarant’s DNA code and comes up with

 “Satans A Lawyer”, “Profane Lawyer”, “Racist’s Swine”, “Racist’s

 Demon”, and “The True Enemy.”        Exhibit 4, Dkt. no. 179-2 at 4.

 Defendant goes on to explain that, “The USA is Lucifer’s

 Kingdom, the numerical value for ‘The USA’ is 666!”               Exhibit 4,

 Dkt. no. 179-2 at 5.      Defendant then once again explains that

 his own DNA code is “Son of Man Prophet” and “I’m Yahshua

 Messyah.”    Defendant states, “Shortly the whole world will get

 to witness me with my father when we are revealed from heaven.

 I will send out a book throughout the world revealing the DNA

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 Code exposing every religion, every religious leader, every

 political leader and the world’s economic system to show that it

 is all part of Mystery Babylon.”          Exhibit 4, Dkt. no. 179-2 at

 6.

             9.    On April 10, 2018, at 2:00 p.m., Declarant was

 scheduled to appear in Court for a further hearing on Dkt. no.

 171, Defendant’s Amended Second Motion for Order to Show Cause

 and Request for Expedited Hearing.         Defendant was scheduled to

 appear and he was at the first hearing on this matter on

 Wednesday, April 4, 2018.       This hearing did not go forward, as a

 Deputy U.S. Marshal informed the Court that Defendant Anthony

 Williams was refusing to come to Court for the hearing.             Exhibit

 5.

             10.   Defendant has chosen to proceed pro se and has

 absented himself from Court proceedings.          Defendant apparently

 believes that Declarant is “Satans A Lawyer”, “Profane Lawyer”,

 “Racist’s Swine”, “Racist’s Demon”, and “The True Enemy.”

 Defendant apparently believes that he is, “Son of Man Prophet”

 and “I’m Yahshua Messyah”, the Son of God.          Based upon

 Defendant’s statements, actions, and filings Declarant believes

 that he should undergo a competency evaluation prior to this

 matter proceeding to trial.



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             I declare under penalty of perjury that the foregoing

 is true and correct.

             Executed on April 11, 2018, at Honolulu, Hawaii.



                                             /s/ Ronald G. Johnson
                                           RONALD G. JOHNSON




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